      Case 2:13-cr-00096-RHW            ECF No. 993       filed 01/06/16      PageID.3422 Page 1 of 2
PROB 12C                                                                         Report Date: December 29, 2015
(7/93)
                                                                                                        FILED IN THE
                                       United States District Court                                 U.S. DISTRICT COURT
                                                                                              EASTERN DISTRICT OF WASHINGTON


                                                      for the                                  Jan 06, 2016
                                                                                                   SEAN F. MCAVOY, CLERK
                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Steven Edwin Bronowski                  Case Number: 0980 2:13CR00096-RHW-9
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Robert H. Whaley, Senior U.S. District Judge
 Date of Original Sentence: October 24, 2013
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:       Prison 6 months;                 Type of Supervision: Supervised Release
                          TSR - 60 months
 Asst. U.S. Attorney:     Aine Ahmed                       Date Supervision Commenced: October 2, 2015
 Defense Attorney:       Richard D. Wall                   Date Supervision Expires: March 1, 2019


                                         PETITIONING THE COURT

                To incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 12/22/2015.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           4            Mandatory Condition # 2: The defendant shall not commit another Federal, state, or local
                        crime.

                        Supporting Evidence: On December 28, 2015, the U.S. Probation Office received a
                        completed police report, and a copy of a non-traffic citation issued to Mr. Bronowski.
                        According to the aforementioned documentation, Mr. Bronowski was cited on December 24,
                        2015, for third degree theft, in violation of Spokane Municipal Code 10.05.100 and RCW
                        9A.56.050, a gross misdemeanor. According to the police report, Mr. Bronowski was cited
                        for the alleged theft of $481.97 worth of merchandise from the Walmart located at 9212 N.
                        Colton in Spokane, Washington. According to the citation issued, Mr. Bronowski is subject
                        to a mandatory court appearance, and is scheduled to appear to answer for the allegations
                        levied against him on January 6, 2016, at 1330 hours.
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Prob12C
Re: Bronowski, Steven Edwin
December 29, 2015
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                                  I declare under penalty of perjury that the foregoing is true and correct.
                                                    Executed on:     December 29, 2015
                                                                     s/ Chris Heinen
                                                                     Chris Heinen
                                                                     U.S. Probation Officer



 THE COURT ORDERS

 [ ] No Action
 [ ] The Issuance of a Warrant
 [ ] The Issuance of a Summons
 [X] The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
 [ ] Defendant to appear before the Judge assigned to the
      case.
 [X] Defendant to appear before the Magistrate Judge.
 [ ] Other

                                                                     Signature of Judicial Officer
                                                                        January 6, 2016
                                                                     Date
